 Case 5:23-cv-05086-TLB          Document 2-1          Filed 06/02/23      Page 1 of 10 PageID #: 38
          Stricken language would be deleted from and underlined language would be added to present law.
                                           Act 372 of the Regular Session

 1   State of Arkansas        As Engrossed:      S2/15/23 S2/21/23 H3/13/23
 2   94th General Assembly                        A Bill
 3   Regular Session, 2023                                                               SENATE BILL 81
 4
 5   By: Senators D. Sullivan, Stone
 6   By: Representatives Gonzales, Bentley
 7
 8                                     For An Act To Be Entitled
 9                   AN ACT TO AMEND THE LAW CONCERNING LIBRARIES AND
10                   OBSCENE MATERIALS MADE AVAILABLE TO MINORS; TO AMEND
11                   THE LAW CONCERNING THE POSSESSION, SALE,
12                   DISTRIBUTION, OR FURNISHING OF OBSCENE MATERIALS; TO
13                   CREATE THE OFFENSE OF FURNISHING A HARMFUL ITEM TO A
14                   MINOR; TO AMEND THE CRIMINAL CODE IN RELATION TO
15                   OBSCENE MATERIALS LOANED BY A LIBRARY; TO ALLOW A
16                   PARENT OR LEGAL GUARDIAN OF A MINOR TO ACCESS THE
17                   MINOR'S LIBRARY RECORDS; TO PROVIDE FOR A CIVIL CAUSE
18                   OF ACTION AGAINST GOVERNMENTAL ENTITIES THAT POSSESS,
19                   SELL, OR DISTRIBUTE OBSCENE MATERIALS; TO AMEND THE
20                   LAW CONCERNING THE PROCESS FOR CHALLENGING MATERIALS
21                   INCLUDED IN A LIBRARY; AND FOR OTHER PURPOSES.
22
23
24                                                 Subtitle
25                           TO AMEND THE LAW CONCERNING LIBRARIES AND
26                           OBSCENE MATERIALS; TO CREATE THE OFFENSE
27                           OF FURNISHING A HARMFUL ITEM TO A MINOR;
28                           AND TO AMEND THE LAW CONCERNING OBSCENE
29                           MATERIALS LOANED BY A LIBRARY.
30
31
32   BE IT ENACTED BY THE GENERAL ASSEMBLY OF THE STATE OF ARKANSAS:
33
34           SECTION 1.      Arkansas Code Title 5, Chapter 27, Subchapter 2, is amended
35   to add an additional section to read as follows:
36           5-27-212.       Furnishing a harmful item to a minor — Failure to report.



     *JLL038*                                                                     03-15-2023 15:57:07 JLL038
 Case 5:23-cv-05086-TLB           Document 2-1        Filed 06/02/23    Page 2 of 10 PageID #: 39

     As Engrossed:       S2/15/23 S2/21/23 H3/13/23                                           SB81


 1        (a)   As used in this section:
 2                 (1)    "Harmful to minors" means the same as defined in § 5-68-501;
 3                 (2)    "Internet" means the combination of computer facilities and
 4   electromagnetic transmission media, and related equipment and software,
 5   comprising the interconnected worldwide network of computer networks that
 6   employ the Transmission Control Protocol/Internet Protocol (TCP/IP) or any
 7   successor protocol to transmit information;
 8                 (3)    "Internet website" means a location where material placed in
 9   a computer server-based file archive is publicly accessible over the internet
10   using hypertext transfer protocol or any successor protocol; and
11                 (4)(A)     "Item" means a material or performance that depicts or
12   describes nudity, sexual conduct, sexual excitement, or sadomasochistic
13   abuse, as those terms are defined in § 5-68-501.
14                          (B)    "Item" includes without limitation:
15                                  (i)     A book, leaflet, pamphlet, magazine, booklet,
16   picture, drawing, photograph, film, negative, slide, motion picture, figure,
17   object, article, novelty device, recording, transcription, live or recorded
18   telephone message, or other similar item whether tangible or intangible;
19                                  (ii)    A performance, exhibition, transmission, or
20   dissemination of any of the items listed in subdivision (a)(4)(B)(i) of this
21   section; and
22                                  (iii)    A live performance or exhibition that depicts
23   nudity, sexual conduct, sexual excitement, or sadomasochistic abuse, as those
24   terms are defined in § 5-68-501, to the public or an audience of one (1) or
25   more persons.
26        (b)   A person commits furnishing a harmful item to a minor if, knowing
27   the character of the item involved, the person knowingly:
28                 (1)    Furnishes, presents, provides, makes available, gives,
29   lends, shows, advertises, or distributes to a minor an item that is harmful
30   to minors; or
31                 (2)    Transmits or sends to a person that he or she believes to be
32   a minor by means of electronic mail, personal messaging, or any other direct
33   internet communication an item that is harmful to minors when the person
34   knows or believes at the time of the transmission that a minor in this state
35   will receive the item.
36        (c)(1)     Subdivision (b)(1) of this section does not apply to the

                                                  2                    03-15-2023 15:57:07 JLL038
 Case 5:23-cv-05086-TLB       Document 2-1       Filed 06/02/23    Page 3 of 10 PageID #: 40

     As Engrossed:    S2/15/23 S2/21/23 H3/13/23                                         SB81


 1   transmission or sending of items over the internet.
 2              (2)    Subdivision (b)(2) of this section does not apply to:
 3                      (A)    Posting material on an internet website, bulletin
 4   board, or newsgroup; or
 5                      (B)    Sending material via a mailing list, listserv, or
 6   other method of internet communication in which a message is sent to an
 7   internet address and then retransmitted to one (1) or more subscribers, that
 8   is not administered by the sender.
 9        (d)   Furnishing a harmful item to a minor is a Class A misdemeanor.
10
11        SECTION 2.    Arkansas Code § 5-68-308(c), concerning defenses to state
12   standards that define and regulate obscenity, is amended to read as follows:
13        (c)   No employee, director, or trustee of a bona fide school, museum,
14   or public library, acting within the scope of his or her regular employment,
15   is liable to prosecution for a violation of this subchapter for disseminating
16   a writing, film, slide, drawing, or other visual reproduction that is claimed
17   to be obscene.
18
19        SECTION 3.    Arkansas Code § 5-68-405 is amended to read as follows:
20        5-68-405.    Possession, sale, or distribution.
21        (a)   Any person that, with knowledge of its contents, A person that
22   knowingly sends or causes to be sent or brings or causes to be brought into
23   this state for sale or commercial distribution, or in this state prepares,
24   publishes, sells, exhibits, loans at a library, or commercially distributes,
25   or gives away or offers to give away or has in the person's possession with
26   intent the purpose to sell or commercially distribute or to exhibit or to
27   give away, any obscene printed or written matter or material other than
28   mailable matter, or any mailable matter known by the person to have been
29   judicially found to be obscene under this subchapter, or that knowingly
30   informs another of when, where, how, or from whom or by what means any of
31   these things can be purchased or obtained, upon conviction is guilty of a
32   Class D felony.
33        (b)   Any person that, with knowledge of its contents, A person that
34   knowingly has in the person's possession any obscene printed or written
35   matter or material other than mailable matter, or any mailable matter known
36   by that person to have been judicially found to be obscene under this

                                             3                    03-15-2023 15:57:07 JLL038
 Case 5:23-cv-05086-TLB        Document 2-1       Filed 06/02/23    Page 4 of 10 PageID #: 41

     As Engrossed:     S2/15/23 S2/21/23 H3/13/23                                         SB81


 1   subchapter, upon conviction is guilty of a Class A misdemeanor.
 2
 3         SECTION 4.    Arkansas Code § 6-25-105 is amended to read as follows:
 4         6-25-105. Establishment of guidelines for selection, removal
 5   relocation, and retention of materials.
 6         (a)   Media centers shall have written policies to establish guidelines
 7   for the selection, removal relocation, and retention of physical materials
 8   that are available to the public.
 9         (b)   The school district shall have a written policy for addressing
10   challenged material that is physically present in the library and available
11   to the public and meets the requirements stated in subsection (c) of this
12   section.
13         (c)   A written policy adopted by a school district under subsection (b)
14   of this section shall provide, at a minimum, the following:
15               (1)    A parent or guardian of a student affected by the material
16   to be challenged or an employee of the school district may challenge the
17   appropriateness of material available in the school district's media center;
18               (2)    The school district shall decide if material being
19   challenged shall remain available throughout the challenge process;
20               (3)    Before a person can file a challenge, the person shall
21   request a conference through the principal's office with a licensed media
22   center employee;
23               (4)    Before a conference under subdivision (c)(3) of this section
24   occurs, the school district shall provide a copy of the following to a person
25   who requests a conference under subdivision (c)(3) of this section:
26                       (A)    The written policy adopted by a school district under
27   subsection (b) of this section; and
28                       (B)    A form or other method by which a person may request a
29   reconsideration of the appropriateness of the material being challenged;
30               (5)    After the conference requested under subdivision (c)(3) of
31   this section occurs, if the person who requested the conference wants to
32   formally challenge the appropriateness of the material that was the subject
33   of the conference, the person shall complete and submit the request for
34   reconsideration using the form or other method provided under subdivision
35   (c)(4)(B) of this section to challenge the material that was the subject of
36   the conference;

                                              4                    03-15-2023 15:57:07 JLL038
 Case 5:23-cv-05086-TLB          Document 2-1       Filed 06/02/23    Page 5 of 10 PageID #: 42

     As Engrossed:      S2/15/23 S2/21/23 H3/13/23                                          SB81


 1                (6)(A)     In conducting a review of material being challenged, the
 2   principal of the school district shall select a committee of licensed
 3   personnel.
 4                         (B)    The principal or his or her designee shall be a member
 5   of the committee and may serve as the chair of the committee established
 6   under subdivision (c)(6)(A) of this section.
 7                         (C)    At least one (1) member of the committee established
 8   under subdivision (c)(6)(A) of this section shall be a media specialist.
 9                         (D)    The committee members who are not the principal or a
10   media specialist shall be licensed personnel with curriculum knowledge
11   appropriate for the material being challenged and be representative of
12   diverse viewpoints;
13                (7)(A)     The committee established under subdivision (c)(6)(A) of
14   this section shall determine if the material being challenged meets the
15   criteria of selection.
16                         (B)    Material being challenged:
17                                 (i)    Shall not be withdrawn solely for the viewpoints
18   expressed within the material; and
19                                 (ii)   Shall be reviewed in its entirety and shall not
20   have selected portions taken out of context;
21                (8)    The school district shall convene a meeting of the committee
22   established under subdivision (c)(6)(A) of this section after allowing a
23   reasonable time for the committee members to adequately review the material
24   being challenged and the request submitted under subdivision (c)(5) of this
25   section by the person challenging the appropriateness of the material;
26                (9)    The committee established under subdivision (c)(6)(A) of
27   this section shall allow the person who submitted the request under
28   subdivision (c)(5) of this section to present his or her request to the
29   committee;
30                (10)     After hearing from the person who submitted the request
31   under subdivision (c)(5) of this section, the committee established under
32   subdivision (c)(6)(A) of this section shall meet to discuss the material
33   being challenged;
34                (11)(A)        The committee established under subdivision (c)(6)(A) of
35   this section shall vote to determine whether the material being challenged
36   shall be relocated within the media center's collection to an area that is

                                                5                    03-15-2023 15:57:07 JLL038
 Case 5:23-cv-05086-TLB      Document 2-1       Filed 06/02/23    Page 6 of 10 PageID #: 43

     As Engrossed:   S2/15/23 S2/21/23 H3/13/23                                         SB81


 1   not accessible to minors under the age of eighteen (18) years.
 2                     (B)    A member of the committee established under
 3   subdivision (c)(6)(A) of this section who votes with the majority under
 4   subdivision (c)(11)(A) of this section shall write a summary of the reasons
 5   for the majority's decision.
 6                     (C)    Notice of the committee's decision under subdivision
 7   (c)(11)(A) of this section and the summary prepared under subdivision
 8   (c)(11)(B) of this section shall be given by hand or by certified mail to the
 9   person who submitted the request under subdivision (c)(5) of this section;
10              (12)(A)      If the committee established under subdivision (c)(6)(A)
11   of this section decides not to relocate the material being challenged, the
12   person who submitted the request under subdivision (c)(5) of this section may
13   appeal the committee's decision to the board of directors for the school
14   district by filing a written appeal to the superintendent within five (5)
15   working days of the committee's decision or written receipt of the
16   committee's decision.
17                     (B)(i)     If a person appeals the decision of a committee
18   under this subdivision (c)(12), the superintendent shall present the material
19   being challenged, the request submitted by the person under subdivision
20   (c)(5) of this section, the committee's decision under subdivision (c)(11)(A)
21   of this section, and the summary prepared under subdivision (c)(11)(B) of
22   this section to the board of directors within fifteen (15) days of the
23   committee's decision.
24                              (ii)   In addition to the information required to be
25   provided under subdivision (c)(12)(B)(i) of this section, the superintendent
26   may also include the administration's recommendation regarding the appeal
27   submitted under this subdivision (c)(12).
28                     (C)(i)     The members of the board of directors shall review
29   the information submitted to them under this subdivision (c)(12) and shall
30   make a decision on the appeal within thirty (30) days of receiving the
31   information.
32                              (ii)   The decision of a board of directors under
33   subdivision (c)(12)(C)(i) of this section is final; and
34              (13)   A meeting held regarding a challenge or an appeal submitted
35   under a written policy adopted by a school district under subsection (b) of
36   this section shall be a public meeting and the records submitted and

                                            6                    03-15-2023 15:57:07 JLL038
 Case 5:23-cv-05086-TLB       Document 2-1       Filed 06/02/23    Page 7 of 10 PageID #: 44

     As Engrossed:    S2/15/23 S2/21/23 H3/13/23                                         SB81


 1   considered at a meeting shall be public records under the Freedom of
 2   Information Act of 1967, § 25-19-101 et seq.
 3
 4        SECTION 5.     Arkansas Code Title 13, Chapter 2, Subchapter 1, is amended
 5   to add an additional section to read as follows:
 6        13-2-106. Establishment of guidelines for selection, relocation, and
 7   retention of materials.
 8        (a)   Each county or municipal library shall have a written policy to
 9   establish guidelines for the selection, relocation, and retention of physical
10   materials that are available to the public.
11        (b)   A county or municipal library shall have a written policy for
12   addressing challenged material that is physically present in the library and
13   available to the public and meets the requirements stated in subsection (c)
14   of this section.
15        (c)   A written policy adopted by a county or municipal library under
16   subsection (b) of this section shall provide, at a minimum, the following:
17              (1)     A person affected by the material to be challenged or an
18   employee of the county or municipal library may challenge the appropriateness
19   of material available in the county or municipal library;
20              (2)     The county or municipal library shall decide if material
21   being challenged shall remain available throughout the challenge process;
22              (3)     Before a person can file a challenge, the person shall
23   request a meeting with the librarian of the county or municipal library;
24              (4)     Before a meeting under subdivision (c)(3) of this section
25   occurs, the county or municipal library shall provide a copy of the following
26   to a person who requests a meeting under subdivision (c)(3) of this section:
27                      (A)    The written policy adopted by the county or municipal
28   library under subsection (b) of this section; and
29                      (B)    A form or other method by which a person may request a
30   reconsideration of the appropriateness of the material being challenged;
31              (5)     After the meeting requested under subdivision (c)(3) of this
32   section occurs, if the person who requested the meeting wants to formally
33   challenge the appropriateness of the material that was the subject of the
34   meeting, the person shall complete and submit the request for reconsideration
35   using the form or other method provided under subdivision (c)(4)(B) of this
36   section to challenge the material that was the subject of the meeting;

                                             7                    03-15-2023 15:57:07 JLL038
 Case 5:23-cv-05086-TLB          Document 2-1       Filed 06/02/23    Page 8 of 10 PageID #: 45

     As Engrossed:      S2/15/23 S2/21/23 H3/13/23                                          SB81


 1                (6)(A)     In conducting a review of material being challenged, the
 2   librarian of the county or municipal library shall select a committee of
 3   library personnel.
 4                         (B)    The librarian or his or her designee shall be a member
 5   of the committee and may serve as the chair of the committee established
 6   under subdivision (c)(6)(A) of this section.
 7                         (C)    The committee members who are not the librarian shall
 8   have knowledge appropriate for the material being challenged and be
 9   representative of diverse viewpoints;
10                (7)(A)     The committee established under subdivision (c)(6)(A) of
11   this section shall determine if the material being challenged meets the
12   criteria of selection.
13                         (B)    Material being challenged:
14                                 (i)    Shall not be withdrawn solely for the viewpoints
15   expressed within the material; and
16                                 (ii)   Shall be reviewed in its entirety and shall not
17   have selected portions taken out of context;
18                (8)    The county or municipal library shall convene a meeting of
19   the committee established under subdivision (c)(6)(A) of this section after
20   allowing a reasonable time for the committee members to adequately review the
21   material being challenged and the request submitted under subdivision (c)(5)
22   of this section by the person challenging the appropriateness of the
23   material;
24                (9)    The committee established under subdivision (c)(6)(A) of
25   this section shall allow the person who submitted the request under
26   subdivision (c)(5) of this section to present his or her request to the
27   committee;
28                (10)     After hearing from the person who submitted the request
29   under subdivision (c)(5) of this section, the committee established under
30   subdivision (c)(6)(A) of this section shall meet to discuss the material
31   being challenged;
32                (11)(A)        The committee established under subdivision (c)(6)(A) of
33   this section shall vote to determine whether the material being challenged
34   shall be relocated within the library's collection to an area that is not
35   accessible to minors under the age of eighteen (18) years.
36                         (B)    A member of the committee established under

                                                8                    03-15-2023 15:57:07 JLL038
 Case 5:23-cv-05086-TLB      Document 2-1       Filed 06/02/23    Page 9 of 10 PageID #: 46

     As Engrossed:   S2/15/23 S2/21/23 H3/13/23                                         SB81


 1   subdivision (c)(6)(A) of this section who votes with the majority under
 2   subdivision (c)(11)(A) of this section shall write a summary of the reasons
 3   for the majority's decision.
 4                     (C)    Notice of the committee's decision under subdivision
 5   (c)(11)(A) of this section and the summary prepared under subdivision
 6   (c)(11)(B) of this section shall be given by hand or by certified mail to the
 7   person who submitted the request under subdivision (c)(5) of this section;
 8              (12)(A)      If the committee established under subdivision (c)(6)(A)
 9   of this section decides not to relocate the material being challenged, the
10   person who submitted the request under subdivision (c)(5) of this section may
11   appeal the committee's decision to the governing body of the county or city
12   by filing a written appeal to the executive head of the governing body of the
13   county or city within five (5) working days of the committee's decision or
14   written receipt of the committee's decision.
15                     (B)(i)     If a person appeals the decision of a committee
16   under this subdivision (c)(12), the executive head of the county or city
17   shall present the material being challenged, the request submitted by the
18   person under subdivision (c)(5) of this section, the committee's decision
19   under subdivision (c)(11)(A) of this section, and the summary prepared under
20   subdivision (c)(11)(B) of this section to the governing body of the county or
21   city within fifteen (15) days of the committee's decision.
22                              (ii)   In addition to the information required to be
23   provided under subdivision (c)(12)(B)(i) of this section, the executive head
24   of the county or city may also include his or her recommendation regarding
25   the appeal submitted under this subdivision (c)(12).
26                     (C)(i)     The members of the governing body of the county or
27   city shall review the information submitted to them under this subdivision
28   (c)(12) and shall make a decision on the appeal within thirty (30) days of
29   receiving the information.
30                              (ii)   The decision of the governing body of the
31   county or city under subdivision (c)(12)(C)(i) of this section is final; and
32              (13)   A meeting held regarding a challenge or an appeal submitted
33   under a written policy adopted by a county or city library under subsection
34   (b) of this section shall be a public meeting and the records submitted and
35   considered at a meeting shall be public records under the Freedom of
36   Information Act of 1967, § 25-19-101 et seq.

                                            9                    03-15-2023 15:57:07 JLL038
 Case 5:23-cv-05086-TLB          Document 2-1        Filed 06/02/23   Page 10 of 10 PageID #: 47

     As Engrossed:       S2/15/23 S2/21/23 H3/13/23                                         SB81


 1         (d)   As used in this section:
 2                 (1)    "Executive head of the county or city" means:
 3                         (A)    For a county library, the executive head of the
 4   county;
 5                         (B)    For a city library, the executive head of the city;
 6   and
 7                         (C)    For a library that is funded by both a county and a
 8   city, the executive head of the county or city that provides the majority of
 9   the funding for the library; and
10                 (2)    "Governing body of the county or city" means:
11                         (A)    For a county library, the county;
12                         (B)    For a city library, the city; and
13                         (C)    For a library that is funded by both a county and a
14   city, the county or city that provides the majority of the funding for the
15   library.
16
17         SECTION 6.      Arkansas Code § 13-2-704 is amended to read as follows:
18         13-2-704. Disclosure permitted.
19         (a)   A library may disclose personally identifiable information
20   concerning any patron to:
21                 (1)    The patron;
22                 (2)    Any person with the informed, written consent of the patron;
23                 (3)    A law enforcement agency or civil court, under a search
24   warrant; or
25                 (4)    Any person, including without limitation the patron, who has
26   received an automated telephone notification or other electronic
27   communication for overdue materials or reserve materials if the person making
28   the request can verify the telephone number or email address to which the
29   notice was sent.
30         (b)   A library may disclose confidential library records to:
31                 (1)    The patron; and
32                 (2)    The parent or legal guardian of a patron who is younger than
33   eighteen (18) years of age.
34
35                                         /s/D. Sullivan
36                                       APPROVED: 3/30/23

                                                10                    03-15-2023 15:57:07 JLL038
